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                THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

DONNA GERMON, as Administrator           *
of the Estate of Rachel M. Germon,       *
and as surviving parent of               *
Rachel M. Germon,                        *
                                         *         CIVIL ACTION FILE No.
             Plaintiff,                  *         4:23-cv-00100-WMR
                                         *
v.                                       *
                                         *
STEPHEN R. BOYD, SR.,                    *
et al.                                   *
                                         *
             Defendants.                 *

     DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO DISMISS
    AMENDED COUNTERCLAIMS AND SUPPORTING MEMORANDUM 1

       Defendants’ Counterclaims assert that decedent Rachel Germon entered into

binding contracts whereby she waived any right to sue Defendants in the event she

died while parachuting and agreed to indemnify Defendants if such a suit were filed.

Defendants’ Counterclaims allege Plaintiff breached those agreements by filing this

action after Rachel Germon died while parachuting and is therefore liable for

damages suffered by Defendants. Plaintiff has moved to dismiss Defendants’


1
 The term “Defendants” as used herein shall refer to Air Support, Inc., Stephen R.
Boyd, Drop Zone Management, Inc., Capital Air Park, Inc., Performance Plus, Inc.,
S.M.E. Properties, LLC, Desert Eagle Aviation, Inc., Desert Sand Aircraft Leasing
Co., and B&B Aviation, LLC.
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Counterclaims for allegedly failing to state a claim upon which relief can be granted,

contending that the subject contractual provisions are unenforceable as written, and

that Plaintiff was not a party to the agreements and thus cannot be liable for breach

of contract in her capacity as surviving parent of Rachel Germon.

      At the motion to dismiss stage, the Court is required to accept as true all well-

pled factual allegations contained in Defendants’ Counterclaims. Based on those,

Defendants have stated viable and proper claims for breach of contract against

Plaintiff, and therefore this Court should deny Plaintiff’s motion to dismiss.2

                            STATEMENT OF FACTS

      This case arises from a parachuting accident in which plaintiff’s decedent,

Rachel Germon, died. Defendants filed Amended Counterclaims on August 7, 2023,

which involve certain waiver agreements executed by Rachel Germon prior to the

accident. (ECF 67-75.)3 Defendants allege that on May 22, 2022, prior to her

parachute jump, Rachel Germon read and signed several documents, including two


2
   Notably, Plaintiff’s contention that the subject waiver agreements are not
enforceable pertains only to Defendants’ Counterclaims for breach of contract.
Plaintiff’s motion to dismiss has no bearing on, and cannot affect or prejudice,
Defendants’ ability to use any or each of the agreements executed by Rachel Germon
to support their defenses to Plaintiff’s claims, including, but not limited to,
assumption of the risk. Plaintiff expressly acknowledges this distinction. ECF 78,
p. 23.
3
  For ease of reference and since each of the Amended Counterclaims is identical,
additional references in this Brief will be made to ECF 75 only.
                                          2
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that contain exculpatory waivers. (ECF 75, ¶16.)4 One is the “Agreement, Waiver

and Release of Liability and Assumption of Risk”,5 which Rachel Germon signed in

three places and initialed 23 times. Id., ¶¶ 24, 26, Exh. 1 thereto. The second is the

Uninsured United Parachute Technologies, LLC Tandem Parachute Jumper

Agreement (“UUPT”).6 Id. at ¶ 42, Exh. 1 thereto.

      Defendants’ Counterclaims allege, and Plaintiff does not contest, that Rachel

Germon placed her initials next to paragraphs 7, 8, and 14 of the SSA, among others.

(ECF 75 ¶ 36, 39-40.)




4
  The agreements were copied and printed as one document and are attached as
Exhibit 1 to the Amended Counterclaims. ECF 75., Exh. 1.
5 In her motion, Plaintiff uses the abbreviation of “SSA” to refer to the “Agreement,

Waiver and Release of Liability and Assumption of Risk”. For ease of reference,
Defendants will utilize that same abbreviation, SSA, herein.
6
  Defendants’ Counterclaims allege that in addition to breaching the SSA, Plaintiff
breached the UUPT by initiating this action. ECF 75 ¶¶ 78-80. In her brief, Plaintiff
argues that the UUPT applies only to jumps involving a “tandem parachute system,”
that Rachel Germon was not using a UUPT tandem system during the jump at issue,
and therefore Plaintiff did not breach the UUPT by initiating this action. ECF 78 at
6-7. For purposes of this response, and without waiving any right to refer to and use
the UUPT other issues including, but not limited to, establishing assumption of the
risk, Defendants withdraw the portions of their Counterclaims that are based solely
on the UUPT.
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Paragraph 7 as initialed is set out below in full:

         7.   I hereby voluntarily release, forever discharge, and
              agree to indemnify and hold harmless "SKYDIVE
              SPACELAND ATLANTA" and all "Released Parties" from
              any and all claims, demands, or causes of action, which are In any way
              connected with my participation In Skydiving-Related Activities or my use
              of "SKYDIVE SPACELAND ATLANTNs" equipment of facilities, including
              any such claims which allege negligent acts or omissions of 'SKYDIVE
              SPACELAND ATLANTA and/or "Released Parties", It is my understanding
              and intention that this Agreement Release of Liability and Assumption of
              Risk be binding not only on myself, but also on anyone or any entity that
              may be able to or does sue "SKYDIVE SPACELAND ATLANTA and/or
              "Released Parties' because of my irt;ury, death, or other hazard or damage.
              IT IS FURTHER MY UNDERSTANDING AND AGREEMENT THAT THIS
              DOCUMENT IS INTENDED TO AND DOES IN FACT RELEASE "SKYDIVE,
              SPACELAND ATLANTA' AND ALL OTHER 'RELEASED PARTIES" FROM
              ANY AND ALL CLAIMS OR OBLIGATIONS WHATSOEVER, FORESEEN
              AND UNFORESEEN, CONTEMPLATED OR NOT CONTEMPLAMAJIISING_
              IN ANY WAY FROM MY PARTICIPATION IN SKYDIVING-RELATED
              ACTIVITIES, EVEN IF CAUSED BY THE NEGUGENCE OR OTHER FAULT OF
              'SKYDIVE SPACELAND ATLANTA' AND/OR "RELEASED PARTIES:


Paragraph 14 as initialed is set out below in full:

       14. BY SIGNING THIS DOCUMENT, I ACKNOWLEDGE
           THAT IF I AM HURT OR KILLED, OR IF I SUFFER
           NEDONIc, PSYCHOLOGICAL, EMOTIONAL, OR
           ECONOMIC INJURY, OR MY PROPERTY IS DAMAGED DURING MY
           PARTICIPATION IN THESE SKYDIVING-RELATED ACILVITIEs, I WILL BE
           f.)UND BY A COURT OF LAW TO HAVE WAIVED MY RIGHT TO
           MAINTAIN A LAWSUIT AGAINST "SKYDIVE SPACELAND ATLANTA"
           AND/OR            PARTIES', AS THOSE TERMS ARE DEFINED HEREIN.
                     ` RELEASED

           I FURTHER UNDERSTAND, AGREE AND CONSENT TO THE
           INTRODUCTION OF THIS AGREEMENT INTO EVIDENCE TO BE
           pUBUSHED TO THE JURY OR OTHER FACT FINDER IN ANY TRIAL
           WHICH MAY RESULT FROM ANY CLAIM OR LAWSUIT BROUGHT HY ME
           OR ON MY BEHALF AGAINST `SKYDIVE SPACELAND ATLANTA` OR ANY
           OTHER 'RELEASED PARTY,"

Paragraph 8 from the SSA as initialed is set out below in full:

  8.   Should 'SKYDIVE SPACELAND ATLANTA' AND/OR
       'RELEASED PARTIES" or anyone acting on their behalf
       be required to Incur attorney's fees arid costs to
       enforce this agreement In any way. I agree to Indemnify and hold them
       harmless for all such fees arid costs_



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      Defendants’ Counterclaims further allege that after signing the SSA and other

agreements, watching the tandem vector waiver video, undertaking additional

training, and a completing a written test, Rachel Germon voluntarily made the

decision on May 22, 2022, to undertake the solo parachute jump that resulted in her

death. (ECF 75 ¶¶ 53, 57-58, 63-76.)

      On May 17, 2023, Plaintiff filed this lawsuit against Defendants seeking

damages arising from Rachel Germon’s death. (ECF 1; ECF 75 ¶ 77.) Defendants’

Counterclaims allege that Plaintiff’s laundry list of factual allegations of fault

against Defendants set forth in the Complaint sound in simple negligence as opposed

to gross negligence. (ECF 75 ¶ 78.) Those allegations include that Defendants:

 “Fail[ed] to exercise reasonable care in providing skydiving activities to Ms.

   Germon”.

 “Fail[ed] to employ qualified instructors, pack riggers, inspectors and flight

   operators”.

 “Fail[ed] to adequately train Austin Dailey or fail[ed] to ensure that he was

   adequately trained”.

 “Fail[ed] to use safe equipment for the performance of its skydiving operation

   services”.

 “Fail[ed] to sufficient train Ms. Germon in skydiving equipment preparation,

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   inspection, or operation procedures”.

 “Fail[ed] to adequate train Ms. Germon in the safe performance of skydiving

   jumps”.

 “Fail[ed] to rig Ms. Germon’s skydiving equipment adequately” .

 “Fail[ed] to inspect Ms. Germon’s skydiving equipment adequately”.

 “Fail[ed] to develop, promulgate, or enforce equipment safety procedures”.

 “Fail[ed] to recognize that it had not adequately rigged, packed, installed, or

   activated the skydiving equipment it provided to Ms Germon”

 “Fail[ed] to warn Ms. Germon that the AAD could fail to deploy the reserve

   parachute when the display indicates that it successfully activated”.

 “Fail[ed] to wear appropriate clothing for the jump”.

 “Altering the parachute pack in a manner that is not specifically authorized by

   the FAA or the parachute pack’s manufacturer”.

 is vicariously liable for the instructor’s various alleged “failures”.

(Id. at ¶ 79; see ECF 1 at ¶¶ 226-227.)

      Defendants’ Counterclaims allege that by signing the SSA, Rachel Germon

expressly (1) waived any right to sue Defendants in the event she was injured or

killed while parachuting, even if her death was proximately caused by the negligence

of Defendants (ECF 75 ¶¶ 78-80); (2) agreed to indemnify and hold Defendants

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harmless and to pay Defendants’ attorney's fees and costs if Defendants had to

defend themselves against any such claims resulting from her death (ECF 75 ¶¶ 78-

83); (3) acknowledged that the SSA was binding not only on herself but also on any

person who may file suit as the result of her death (ECF 75 ¶ 81); and (4) breached

the SSA by filing this action (ECF 75 ¶ 90). Defendants’ Counterclaims allege that

they have suffered damages as a result of Plaintiff’s breach. (ECF 75 ¶ 91.) As a

result, if Defendants show, after having conducted the necessary discovery to

challenge Plaintiff’s factual allegations, that one or more of Plaintiff’s claims sound

only in simple negligence, then Plaintiff will be liable to Defendants for breach of

contract, and Defendants will be able to recover their attorneys’ fees, expenses, and

other provable damages caused by Plaintiff’s breach.

                  ARGUMENT AND CITATION OF AUTHORITY

      I.     Standard for Motions to Dismiss Generally

      Under Fed. R. Civ. P. 12(b)(6), the Court must accept the Defendants’

counterclaim allegations as true and must construe them in the light most favorable

to Defendants. Hishon v. King & Spalding, 467 U.S. 69, 73 (1984); Watts v. Fla.

Int’l Univ., 495 F 3d 1289, 1295 (11th Cir. 2007). Dismissal is only appropriate

when “no construction of the factual allegations will support the cause of action.”

Marshall Cnty. Bd. of Educ. v. Marshall Cnty. Gas Dist., 992 F 2d 1171, 1174 (11th

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Cir. 1993). The Court should only dismiss a claim if it has not been plead with

enough facts to state a claim to relief that is plausible on its face. Bell Atl. Corp. vs.

Twombly, 550 U.S. 544, 570 (2007). The plausibility standard is not a “probability

requirement,” but it merely requires something more than a sheer possibility that a

defendant has acted unlawfully.” Ashcroft vs. Iqbal, 556 U.S. 662, 678 (2009). As

conceded by Plaintiff, this low bar requires only that the allegations in Defendants’

Counterclaims “raise a right to relief above the speculative level”. Twombly, 550

U.S. at 555. Further, under Fed. R. Civ. P. 8(a)(2), Defendants are only required to

provide a “short and plain statement of the claim showing that the pleader is entitled

to relief”, and under Rule 8(e), “[p]leadings must be construed so as to do justice.”

Therefore, in evaluating Plaintiff’s motion to dismiss, this court must accept

Defendants’ factual allegations as true, and Defendants need only provide a short

and plain statement of their claim to survive the motion.

      II.    Defendants’ Counterclaims Properly Plead Breach of Contract
             Against Plaintiff.

      Plaintiff mentions generally in her “Introduction” that Defendants have not

properly alleged a breach of contract claim (see ECF 78, p. 4), but there is no

discussion to support that argument in the body of her motion aside from a single

footnote (id. at p. 24, n. 19.). Plaintiff does not even mention the elements to

establish a breach of contract claim in Georgia; she simply makes the bare assertion
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that Defendants’ counterclaims fail to do it. Nevertheless, since her motion purports

to contend that the counterclaims do not assert a cognizable claim, Defendants will

address the issue.

       “The elements of a breach of contract claim in Georgia are the (1) breach and

the (2) resultant damages (3) to the party who has the right to complaint about the

contract being broken.” Bates v. JPMorgan Chase Bank, NA, 768 F.3d 1126, 1130

(11th Cir. 2014) (quoting Norton v. Budget Rent a Car Sys., Inc., 307 Ga. App. 501,

502 (2010)). Courts routinely hold that a breach of contract claim is sufficiently

pled and survives a motion to dismiss challenge where the pleading party

incorporates by reference the contracts at issue and cites the provisions allegedly

breached. See, e.g., Coca-Cola Fin. Corp. v. Pure Tech Plastics, LLC, 2012 U.S.

Dist. LEXIS 207503, Civil Action No. 1:12-cv-00949-SCJ (N.D. Ga. Oct. 24, 2012)

(breach of contract claims found to meet Rule 8 pleading requirements); Bowers v.

Branch Banking & Trust Co., 2015 U.S. Dist. LEXIS 88298, Civil Action No. 4:15-

CV-0011-MTT (M.D. Ga. July 8, 2015) (attaching agreement to complaint and

clearly identifying terms allegedly breached sufficient to survive motion to dismiss

for failure to state a claim).




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      Plaintiff could only muster one district court case to support her baseless

position that the allegations are insufficient. In that case, the Court held that the

defendant’s breach of contract claim was not properly plead because it failed to

allege there was any binding contract between the parties at all; instead, the

defendant was attempting to rely on a copy of the plaintiff’s policies that were never

signed or assented to by the defendant. Kellogg, 1:18-CV-1929-MHC, 2019 WL

13245096 at *10-11. The defendant in Kellogg also failed to state how the plaintiff

breached the supposed agreement or how it had been damaged by the supposed

breach. Id. at *11.

      Here, Defendants’ Counterclaims allege far more than the required short and

plain statement to satisfy federal pleading rules. Defendants have attached a

complete copy of the SSA and other agreements to their Counterclaims and

incorporated them by reference. (ECF 75, ¶ 16, 53, 78-92, Exs. 1 and 2 thereto.)

Defendants also allege that Rachel Germon read and signed all 4 agreements,

including the SSA, in consideration for making her jump. (Id. at ¶ 16.) Defendants

then point to specific contractual provisions that Plaintiff has allegedly breached by

initiating this action, including:

 SSA Paragraphs 14 and 15, whereby Rachel Germon expressly released and

   discharged Defendants from any liability resulting from any injury or death she

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   suffered from the jump, (id. at ¶ 37), and waived the right to sue Defendants in

   the event she died from parachuting (id. at ¶ 36);

 SSA Paragraph 7, whereby Rachel Germon agreed to release, discharge and

   indemnify Defendants from any claims that may result from her skydiving-

   related activities, (id. at ¶ 39), and agreed that the SSA covenants would be

   binding not only on herself, but also on any other person or entity who may

   attempt to sue Defendants because of her death (id.); and

 SSA Paragraph 8, whereby Rachel Germon agreed never to institute any suit

   against Defendants as a result of the parachuting event and to indemnify

   Defendants if they were required to incur attorney’s fees in defending a suit. (Id.

   at ¶ 40.)

      The Counterclaims further allege Plaintiff filed this suit seeking damages

arising from Rachel Germon’s death, (id. at ¶ 77); that the Complaint alleges facts

and legal theories, such as Defendants “failed to exercise reasonable care”, that

sound in simple negligence (id. at ¶¶ 78-79); that Plaintiff breached the SSA by filing

this lawsuit (id. at ¶ 90); and that Defendants have suffered monetary damages from

having to defend the lawsuit, including but not limited to attorneys’ fees, expert

witness fees, and investigator costs (id. at ¶ 91). Thus, Defendants’ Counterclaims



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are replete with factual allegations more than sufficient to establish their breach of

contract claims and survive a motion to dismiss challenge.

      III.   The SSA’s Exculpatory Clauses are Binding under Georgia Law.

      Under Georgia law, contractual waivers and exculpatory clauses are

recognized as binding contracts and are not void as against public policy.

Neighborhood Assistance Corp. of Am. v. Dixon, 265 Ga. App. 255 (2004). In

Dixon, the Georgia Court of Appeals stated as follows:

      It is the paramount public policy of this State that Courts will not lightly
      interfere with the freedom of parties to contract. A contracting party
      may waive or renounce that which the law has established in his or her
      favor when it does not thereby injure others or affect the public interest.
      Exculpatory causes in Georgia are valid and binding and are not void
      as against public policy when a business relieves itself from its own
      negligence.

265 Ga. App. at 460-61. “A contract cannot be said to be contrary to public policy

unless the General Assembly has declared it to be so, or unless the consideration of

the contract is entered into for the purpose of effecting an illegal or immoral

agreement or doing something which is in violation of law.” Hall v. Garden Servs.,

Inc., 174 Ga App 856, 858 (1985). The Georgia General Assembly has not enacted

any law prohibiting contractual waivers or exculpatory provisions in any contract

pertaining to parachuting.



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      Of course, exculpatory clauses do not relieve a party from liability for acts of

gross negligence or willful or wanton conduct. McFann v. Sky Warriors, Inc., 268

Ga App. 750, 758 (2004). Critically, however, “when facts alleged as constituting

gross negligence are such that there is room for difference of opinion between

reasonable people as to whether or not negligence can be inferred, and if so whether

in degree the negligence amounts to gross negligence, the right to draw the inference

is within the exclusive province of the jury.” Id. at 758 (quoting Colonial Props.

Realty v. Lowder Constr. Co., 256 Ga App. 106, 113 (2002)).

      In McFann, the defendant, Sky Warriors, was in the business of taking

passengers for aircraft rides involving simulated aerial combat. 268 Ga. App. at 750.

The plaintiff’s decedents executed contracts exculpating Sky Warriors from liability

and were later killed when a Sky Warriors’ aircraft’s wing detached from the plane

during flight. Id. The plaintiff alleged that Sky Warriors was grossly negligent by

selecting a 40-year-old aircraft with extremely high airframe time and a high

probability of serious airframe fatigue failures, and because it failed to perform

proper maintenance. As noted by the plaintiff, per federal regulations an airplane

with a fatigue crack in a wing spar is not airworthy unless it is inspected and repaired

in accordance with manufacturer's recommendations. Despite finding another of its

planes to be damaged from fatigue and x-rays showing that at least two other of its

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planes had cracks in their wing spars, Sky Warriors never had engineers determine

whether its planes were airworthy, but instead allowed ordinary aircraft mechanics

to make that assessment. Id. at 759. Even though the plaintiff denominated the

allegations as gross negligence, the court held that whether Sky Warrior’s conduct

constituted simple negligence, gross negligence, or willful and wanton conduct was

a factual determination that must be resolved by the jury. Id.

      Likewise, in Lowder Construction Co. the plaintiff alleged that the defendant

was grossly negligent by failing to adhere to building construction blueprints, which

led to a fire. 256 Ga. App. 106 (2002). As in McCann, the court held that whether

the defendant was grossly negligent as alleged in the complaint by failing to adhere

to the blueprints was a question that had to be resolved by the jury and not the court.

Id. at 113. See also Currid v. Dekalb State Ct. Prob. Dep’t, 274 Ga. App. 704, 709

(2005).

       Thus, under Georgia law, this Court cannot decide as a matter of law at this

initial pleading stage whether Germon’s allegations of fault against Defendants

constitute claims of simple or gross negligence. Under established Georgia law, the

jury must make that determination, and if any one or more of Plaintiff’s allegations

of fault against Defendants constitutes a claim of simple negligence, she will be

found to have breached the SSA by filing this lawsuit.

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      IV.    The SSA’s Exculpatory Clauses are Prominent, Clear, and
             Unambiguous.

      Plaintiff acknowledged in her Complaint that Rachel Germon read and signed

the SSA. (ECF 1, ¶ 70.) In fact, Rachel Germon signed the SSA in three places

and initialed 23 separate paragraphs on May 22, 2022, the date of the accident. (ECF

75, ¶ 26.) Faced with those unavoidable facts and with the expectation that many or

all of Plaintiff’s factual allegations against Defendants will, after discovery has been

conducted, turn out to be claims that sound only in simple negligence, Plaintiff has

taken the only avenue possible to try to avoid having her claims barred as a matter

of law: she contends that the signed waivers are unenforceable because the waiver

language is confusing. In doing so, she contends both that there is too little

prominent language and then that there is too much. (ECF 78, pp. 16, 18.)

      First, Plaintiff’s contention that there are multiple definitions of “Skydiving -

Related Activities” and “Skydive SpaceLand Atlanta” conveniently ignores that

those two sets of definitions are contained in different agreements. What she calls

the first definition of “Sky Diving – Related Activities” is set forth in the

“Representation of Medical Fitness” agreement, and what she calls the second

definition is in the separate SSA agreement. The same is true for the two definitions

of “Skydive SpaceLand Atlanta”. The “Representation of Medical Fitness” and SSA

each have their own title, introductory language, terms and provisions, and signature
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lines. (ECF 75, Exh. 1.) Thus, each agreement has only a single governing

definition for “Skydiving – Related Activities” and “Skydive Spaceland Atlanta”.

(See id.)

      Regardless, even if those definitions were part of the same agreement, a

review of the definitions reveals no meaningful differences. Both definitions of

“Skydiving – Related Activities” contain the following exact list of terms:

“parachuting, ground instruction, flying or riding an aircraft, skydiving, free fall

jumping, tandem jumping, and experimental test parachute jumping”. (Id., Exh. 1,

p. 1.) The only difference is that the first definition concludes with “and all related

activities”, and the second definition delineates those other related activities as

“experimental canopy deployment and flight, riding on buses on shuttles, and merely

being on premises where such activities are conducted”. Id. The definitions are, for

all relevant purposes, identical and clearly synonymous.

      For the same reason, the definitions of “Skydive SpaceLand Atlanta” are

synonymous. One definition is “Skydive SpaceLand Atlanta and its successors,

assigns and related entities”, and the second definition simply lists those related

entities. Id. What Germon refers to as the third definition of “Skydive SpaceLand

Atlanta is not a definition at all, but rather a reference to the prior definitions of

“Skydive SpaceLand Atlanta” and “Released Parties”. Id.

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Second, Plaintiff’s attempts to attack the exculpatory waivers in paragraphs 7 and

14 of the SSA as not being sufficiently prominent is equally unconvincing when the

actual language of the SSA is reviewed. Plaintiff argues courts consider factors such

as whether the clauses are contained in a separate paragraph, have a separate

heading, or have distinguishing features such as font size.         (ECF 78, p. 16.)

However, a review of the SSA’s Paragraphs 7 and 14 reveals that the relevant

exculpatory language is set forth in separate paragraphs and in a font that is all caps,

bold print, and underlined. (ECF 75, Exh. 1 at p. 3.) The paragraphs stand out as

they are between paragraphs 6, , and 13, and 15, respectively, which do not have

provisions in all caps, bold print, and underlined. Moreover, paragraphs 7 and 14

were individually initialed by Rachel Germon on the day of her jump. Therefore,

the exculpatory clauses contain the requisite emphasis that Plaintiff contends is

desired and required by Georgia courts. Thus, the two exculpatory clauses are

prominent, clear, and unambiguous, and therefore enforceable.

      Third, Plaintiff’s argument that the exculpatory clauses are buried in the

agreement and Ms. Germon could not have understood what she was releasing defies

all reason. It is inconceivable that Rachel Germon could have read the SSA, signed

it in the three places indicated, and initialed each specific paragraph without

knowing beyond any shadow of a doubt that she was waiving any claims for

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negligence if she were killed against Skydive SpaceLand Atlanta and any related

companies who were involved in any way with her parachute jump. Indeed, the very

title of the agreement is “AGREEMENT, WAIVER, AND RELEASE OF

LIABILITY &ASSUMPTION OF RISKS”. (Id.) Moreover, at the end of the

SSA, Ms. Germon signed under the sentence that reads: “I also understand and

acknowledge that by signing these documents, I am giving up important legal

rights.” (Id. at p. 4.)

       The cases Plaintiff cites in support of her position that the SSA is

unenforceable are materially distinguishable and irrelevant. Dataforensics, LLC v.

Boxer Property Management, 361 Ga. App. 311 (2021) involved a limitation of

liability provision in a real estate lease barring recovery of consequential damages.

The limitation of liability language was the same font size as that used throughout

the entire lease, and, unlike the provisions signed by Ms. Germon, was not

capitalized, italicized, or set in bold print. 361 Ga. App. at 320. The Court of

Appeals held that the trial court erred in granting summary judgment to the defendant

based on that provision, leaving the enforceability of it to the jury. Id. at 321.

       Plaintiff’s reliance on Hitech Rail v. Cambridge Swierton Builders, 363 Ga.

App. 226 (2022), is also misplaced. That case involved a dispute between a

commercial general contractor and its subcontractor, and the exculpatory provision

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was in the same font as that used throughout the contract and placed in a paragraph

entitled “Termination”, which title had nothing to do with the subject provision. Id.

at 230. Similarly, in Parkside Center v. Chicagoland Vending, 250 Ga. App. 611,

612 (2001), the exculpatory provision in a commercial lease was in the same font as

the surrounding language and was contained in a paragraph labeled

“Miscellaneous”. Finally, Monitronics International, Inc. v. Veasley, 323 Ga. App.

126 (2013) involved a home security contract, and the $250 limitation of liability

provision was placed in the same paragraph that discussed the liability of police or

fire departments and was not capitalized or otherwise prominent. 323 Ga. App. at

135. The court noted that the language was written in the “same small, single space

type face as the majority of the contract.” Id.

      Here, unlike the language in the cases Plaintiff cites, the SSA waiver

provisions in paragraphs 7 and 14 are communicated in separate paragraphs without

confusing or misleading titles and via font that are in all caps, bold print, and

underlined to bring the reader’s attention to the importance of the provisions. (ECF

75, Exh. 1, p. 2.) Also, the title of the SSA is set in all caps, bold print, and

underlined “AGREEMENT, WAIVER AND RELEASE OF LIABILITY &

ASSUMPTION OF RISK” to warn the reader about the importance and effect of

what she is signing. Finally, unlike the cases cited by Plaintiff, Rachel Germon

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placed her initials next to each of these critical paragraphs and then signed at the end

of the agreement acknowledging that she was “giving up important legal rights."

(ECF 75, Exh. 1, p. 3.) The SSA waiver provisions are thus more akin to the

exculpatory language upheld as enforceable in Imaging System International v.

Magnetic Resonance Plus, 227 Ga. App. 641, 645 (1997), where the Georgia Court

of Appeals upheld the enforceability an exculpatory provision because it was written

in all capitalized letters, and which otherwise emphasized to the reader what rights

were being limited. See also 2010-1 SFG Venture LLC v. Lee Bank & Trust Co.,

332 Ga. App. 894 (2015) (trial court erred in ruling provision was unenforceable

where it appears in contract as part of collection of similar paragraphs pertaining to

rights of parties); Imagining Sys. Int’l v. Magnetic Resonance Plus, 227 Ga. App.

641, 644-45 (1997) (exculpatory clause set in own paragraph with key language

capitalized enforceable as written).

      Perhaps the most important difference between this case and those relied upon

by Plaintiff is that the cases cited by Plaintiff all involved business contracts that

were signed long before the issue arose that made the exculpatory provisions

relevant and by individuals who were agents of companies as opposed to a person

about the engage in a high-risk recreational activity and who is personally affected

by the document. Here, Rachel Germon executed the SSA immediately before she

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went on her first solo parachute jump and thus would have been keenly interested in

the documents.

      Finally, Plaintiff confusingly takes the opposite stance and argues that, instead

of failing to emphasize the waiver language clearly and prominently, the SSA

provisions suffer from “excessive emphasis”, citing Allstate Insurance Co. v. ADT,

LLC., 1:15-CV-517-WSD, 2015 WL 5737371, at *5 (N.D. Ga. Sept. 30, 2015). In

Allstate, the court found that the critical clauses were “printed in extremely small

print and single spaced” and that the surrounding clauses were also in the small,

capitalized letters, and thus they were not distinguishable. Id. at *9. In the SSA,

however, only four of the 23 paragraphs contain language that is all caps, bold print,

and underlined. All four of these relate to Rachel Germon’s knowing and voluntary

assumption of the risks involved in parachuting, and two of the four such paragraphs

are the exculpatory waivers at issue.7

      Although no Georgia case appears to have adjudicated the enforceability of

exculpatory clauses in parachute waiver agreements, a review of case law from other

jurisdictions reveals that such clauses are universally enforced by courts across the

country. See, e.g., Paralift, Inc. v. Superior Court, 23 Cal. App. 4th 748 (1993)



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  The other two emphasized paragraphs are paragraph 9 (assumption of risk) and 23
(agreement that heirs are bound by contract).
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(parachute waiver enforced even though it was signed and initialed 3 years before

the fatal accident); Cain v. Cleveland Parachute Training Ctr., 9 Ohio App. 3d 27

(1983) (parachute exculpatory waiver enforced); Falkner v. Hinckley Parachute

Ctr., Inc., 178 Ill. App. 3d 597 (1989) (same); Scrivener v. Sky’s The Limit, 68 F.

Supp. 2d 277 (1999) (same); Manning v. Brannon, 956 P. 2d 156 (Okla. App. 1997)

(parachute exculpatory contract signed and initialed in 14 places was enforceable).

Here, as in these cases, the SSA’s waiver provisions alerted Rachel Germon loudly

and clearly that parachuting may result in her death and that she was expressly

waiving any rights to sue Defendants.

      V.    Defendants Have Asserted a Proper Claim against Donna
            Germon.

      Plaintiff concedes that she has filed this case in two capacities: individually,

under Georgia’s Wrongful Death Statute as Rachel Germon’s surviving parent, and

as Administrator of Rachel Germon’s estate. Plaintiff also concedes, and the parties

agree, that the exculpatory waivers, if enforceable, will bind Donna Germon with

respect to her claims asserted as Administrator. Plaintiff also acknowledges that

Defendants can use the contractual waivers to support their defenses against her in

either of her capacities. The only issue currently in dispute is whether Donna

Germon is also bound by the terms of the executed waivers individually as a

wrongful death heir of Rachel Germon.
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      The case cited by Plaintiff in support of her position, Manning v. Robertson,

223 Ga. App. 139, 141 (1996), is inapplicable. In Manning, the Court simply held

that a party’s assertion of indemnity and contribution claims as part of an affirmative

defense could in fact be construed as stating viable crossclaims. 223 Ga. App. at

142. It did not involve the question of available claims against estate administrators

and does not help answer where Rachel Germon’s waiver of her right to sue

Defendants is binding on Plaintiff in her capacity as heir.

      Under Georgia law, a wrongful death claim is derivative in nature. In Wade

v. Watson, 527 F. Supp. 1049 (N.D. Ga. 1981), aff’d, 731 F 2d 890 (11th Cir. 1984),

the Court held that because the decedent had executed a release of liability prior to

his death, the survivor’s wrongful death action was barred, reasoning that

“[a]lthough it is true that the action created by the wrongful death statute is different

from the cause of action which Wade would have possessed had he lived, any

defense which would have been good against Wade is good against his

representatives in a wrongful death action.” Id. at 1052 (citing Thompson v. Watson,

186 Ga. 396 (1938)). More recently, in United Health Services of Georgia, Inc. v.

Norton, 300 Ga. 736 (2017), the Georgia Supreme Court stated:

      This case is controlled by the long-standing precedent that a wrongful
      death action is wholly derivative of a decedent’s right of action…if the
      deceased, in his lifetime, has done anything that would operate as a bar
      to a recovery by him of damages to the personal injury, this will operate
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      equally as a bar in any action by his personal representatives for his
      death.

Id. at 737-38. These cases make clear that Donna Germon’s wrongful death claim

as surviving parent of Rachel Germon is derivative and thus tied to and subject to

whatever rights Rachel Germon may have waived prior to her death. Rachel Germon

waived her right to sue Defendants for her death from the parachute accident.

Therefore, under Georgia law, Donna Germon is bound by those agreements.

Having breached those agreements by filing this lawsuit, Plaintiff is therefore subject

to Defendants’ counterclaims for breach of those agreements in both her capacity as

administrator for the estate and as surviving heir.

                                  CONCLUSION

      For the reasons stated herein, Defendants respectfully request that this Court

deny Plaintiff’s Motion to Dismiss.

      Submitted this 5th day of September, 2023

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                                               Georgia Bar No. 004820
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Spaceland Houston

#4865-2264-5116




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               THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ROME DIVISION

DONNA GERMON, as Administrator *
of the Estate of Rachel M. Germon,
                               *
and as surviving parent of     *
Rachel M. Germon,              *
                               *       CIVIL ACTION FILE No.
         Plaintiff,            *       4:23-cv-00100-WMR
                               *
                               *
                               *
STEPHEN R. BOYD, SR.,          *
et al.                         *
                               *
         Defendants.           *
                               *
                     CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I electronically filed the foregoing DEFENDANTS’

RESPONSE       TO    PLAINTIFF’S       MOTION       TO    DISMISS      AMENDED

COUNTERCLAIMS AND SUPPORTING MEMORANDUM using the Court’s

CM/ECF System, which will automatically send a copy of same to the following counsel

of record:

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       I further certify that, pursuant to Rule 5.1(C) of the Local Rules of the United

States District Court for the Northern District of Georgia, I prepared this document in 14-

point Times New Roman font and complied with the margin and type requirements of

this Court.

       This 5th day of September, 2023.

                                                 /s/ Caitlin L. Amick
                                                 Edward C. Bresee, Jr.
                                                 Georgia Bar No. 004820
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